280 F.2d 431
    NATIONAL COOPERATIVE REFINERY ASSOCIATIONv.T.S.ANSEL et al.
    No. 6296.
    United States Court of Appeals Tenth Circuit.
    March 24, 1960.
    
      Jochems, Sargent &amp; Blaes, Wichita, Kan., for appellant.
      Collins, Hughes, Martin, Pringle &amp; Schell, Wichita, Kan., for appellees.
      Before MURRAH, Chief Judge, and BRATTON and LEWIS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appeal dismissed pursuant to stipulation of the parties.
    
    